Case 1:21-cv-00357-SPB-RAL Document 8-2 Filed 02/08/22 Page 1 of 8

EXHIBIT B

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Document 8-2 Filed 02/08/22 Page 2 of 8

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Section 1 —- Grievances & 'Initial‘Review
Issued: 1/28/2016 oe,

Effective: 2/16/2016

| - ° DC-ADM 804, Inmate Grievance System Procedures Manual

DC-804 COMMONWEALTH OF PENNSYLVANIA FOR OFFICIAL USE
Part 1 DEPARTMENT OF CORRECTIONS
GRIEVANCE NUMBER
OFFICIAL INMATE GRIEVANCE
TO: FACILITY GRIEVANCE COORDINATOR FACILITY: | 4, DATE:
SAL PGs 4 af fed hy WR
woo i i o¢_ YF if tae ee F Lf Og 4 ‘ +t
FROM: (INMATE NAME & NUMBER) SIGNATURE OF INMATE: ., , .
we uv is ts és fi j itd -, i? fe oF
WORK ASSIGNMENT: >" 2 HOUSING ASSIGNMENT:
i Voy? fot fy ao
INSTRUCTIONS: :
4. Refer to the DC-ADM 804 for procedures on the inmate grievance system.
2. State your grievance in Block A in a brief and understandable manner.
3. List in Block B any action you may have taken to resolve this matter. Be sure to include the identity of
staff members you have contacted. '
:* .--'a_ Provide a brief, clear statement of your grievance. Additional paper may be used, maximum two
ao 7 pages, (one DC-804 form and one one-sided 8%" x 11" page). State all relief that you are seeking.
Gh 3-25-26 SeGuned otaiea ot O.f soon Snceevisee Muatin culled bli
Limetes «aifaguc Fese hess. adS tating Fie annailes oe. LO wea
a Was 38 C.acthia Lh bf was weaietery urns? rt
tol: thowte oiuioral Paton | BASES COREY ARV ESSEVA :
Bones ots Wag * Pvea 2 E po? ew bs LACK You alee ue
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WUB 1.0 Nel: fro, tia te rupee at Sova) .biruu bower
end tole i¢ ta smut tne cuce pu, net ie coeun' tf tare wi aun us
wWeittiar sneteer trievacac. | asked anath h SCLOvedite qeve is
Q i Ty VL eB snglec ve BOO wr ble GYitvarces ates
Jenn air ri 4 we i wl OnG Tilte JuL. LOtes Gressine : ¥
way Qu. C.G acocds rolG we P oeetes, Pind a ome. jut. £cas ie
< retaliatign ior scheveayre #846548 i tig pTousiteviebaceds bre
B. List actions taken and staff you have contacted, before submitting this grievance.
a Ay . > [ f 1 ‘ 4 :
Your grievance has been received and will be processed in accordance with DC-ADM 804.
" |
Signature of Facility Grievance Coordinator Date |
WHITE Facility Grievance Coordinator Copy CANARY File Copy PINK Action Return Copy !
GOLDEN ROD Inmate Copy . |
!
te

Attachment 1-A
Case 1:21-cv-00357-SPB-RAL Document 8-2 Filed 02/08/22 Page.3 of 8 |

CODE OF ETHICS using abusive Language and -General Responsibility
of Department of Corrections Employees- Consistent with the
responsibility of all correctional employes in the Commonwealth
of Pennsylvania to perform their duties with integrity and
impartiality and to avoid situations whereby bias, prejudice, or

personal gain could influence official decisions.

I did nothing to warrant the yerbal abusive or the threat that
I better find another job. DC-ADM 804 Section i. A .24 -No inmate

shail be punished, retaliated against, or otherwise harmed for |
use of the grievance system. oo
RELIEF -

1.Freedom from further retaliation.

2. That C.O Gronal be suspended without pay for abusive language
and freedom from further retaliation .

3. That my lively hood not taken. away because I filed a
grievance. -

4,.50,000 dollars for the retaliation and the verbal abuse. _
5, That the retaliation be. documented and that I will not be
retaliated against further.

6.That I do not lose my job because of the color of my skin. I

bee for a full and unbias investigation.

cc. OSIT
. CASS T21-6V-00357:SPB-RAL Document 8-2 Filed 02/08/22 Page 4.of 8

Initial Review Response

SCI Albion
10745 Route 18.
Albion, PA, 16475-0001

04/24/2020 01:18

Inmate Name: 'SHEGOG, JOSEPH WILLIAM [DOC #:

Me

Grievance #:

This serves to acknowledge receipt of your grievance to the assigned Grievance Officer. The response is as follows:

Response:

After a thorough review of the allegations made against staff it has been determined that all allegations in this
grievance have been fabricated. Inmate Shegog filed this grievance in an attempt to mitigate the outcome of a ©
misconduct filed due to infractions he committed while working in Cl. No relief or award is warranted.

Mf Frivolous: / . =
Inmate Shegog filed this grievance in an attempt to mitigate the outcome of a misconduct incurred while working in
Cl. . :

Signature: , pO , |

* €C: Facility Grievance Coordinator
DC-15

be

;Date: | _ 4713/2020 ' cp

DC-ADM 804, Inmate Grievance System Procedures Manual

Section 1 - Grievances & Initial Review, Attachment 1-D ° ‘Issued: 1/26/2016 Effective: 2/16/2016

GM1483 Grievance #857358

SHEGOG, JOSEPH WILLIAM Paget of 1

Case 1:21-cv-00357-SPB-RAL Document 8-2 Filed 02/08/22 Page 5 of 8

APPEAL TO SUPERINTENDENT

Name: Joseph W. Shegog Grievance# 857358
Inmate# GM-1483

Unit: B-B-62-

‘Date: 4-20-20

Grievance Date:3-23-20 |
No Initial Response was given

I am Appealing for Following Reasons:
1. Never received an initial response. The due date for response
was 4-14-20
2. C.0 Gronal confronted me about a grievance I wrote on Mooney
#848548. This violates DC-ADM 804 Section 1. A 24 -No inmate
shall be punished, retaliated against, or otherwise harmed for
use of the grievance system.
3. G.0 Gronal used abusive language violating the CODE OF ETHICS
and -General Responsibility of Department of Corrections
Employees-performing duties with integrity and impartiality and
to avoid situations whereby bias, prejudice, or perscnal gain
could influence official decisions.

-Facts in Support for Review- |
C.O Gronal confronted me about a prior grievance. No
inmate shall be punished, retaliated against for use of grievance
system. I did not receive any paperwork just told I was suspended
on the following day.
Relief:1. Freedom from futher retaliation.

2. That C.O Gronal be suspended without pay for abusive language
3. That my livelihocd not be taken away because I filed a
grievance,
4. Back pay for every day I lost.
>. 50,000 dollars for retaliation, verbal abuse, violation of the
CODE OF ETHICS, and violation of DC-ADM 001, 804, and 816.
6. That the retaliation be documented and that I will not be
retaliated against any further.
7. That I do not lose my job because of the color of my skin.

|

: . ‘ ee . |

8. I request a full and unbias investigation of this complainé. |
|
Case 1:21-cv-00357-SPB-RAL Document 8-2. Filed 02/08/22 Page 6 of 8

Facility Manager’s Appeal Response

SCI Albion
10745 Route 18
Albion, PA, 16475-0001

05/12/2020 04:40

iGM1483

[Inmate Name:

pte. = : one t
|Grievance #: 857358

| This serves to acknowledge receipt of your grievance appeal to the Facility Manager for the grievance rioted above.
In accordance with the provisions of DC-ADM 804, “Inmate Grievance System Policy’, the following response ts

i being provided based on a review of the entire record of this grievance. The review included your initial grievance,

i the Grievance Officers response, your appeal to me and any other documents submitted. .

‘ Decision:Uphold Response .

Response:

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i
|

Nir. Shegog:
. .
| have reviewed your grievance, the Grievance Officer’s response and your appeal to the Facility Manager.
In your grievance dated 3/23/20, you are grieving on this same date an incident that occurred at your work place,
Correctional Industries. ‘
{
I

The Grievance Officer assigned to your grievance was Lt. Jadiocki. Following his investigation into your grievance,
: he ultimately was able to find no validity and in fact ultimately determined that your allegations were fabricated. He
denied your grievance and deemed it Frivolous. :

You have appealed to the Facility Manager and provide nothing that refutes the Grievance Officer's findings and now
have added additional points that were not addressed in your criginal grievance.

Mr, Shegog ultimately, | must.concur with the Grievance Officer and | am upholding their response to include the
determination of Frivolous. N .

MRG/aae .

@ Frivclous: So

The Facility Manager upholds the determination of thi is ievffce as Frivolous.

_! DG-ADM 804, Inmate Grievance System Procedures Manual

Section 2 - Appeals, Attachment 2-B ; me Issued: 4/26/2016 Effective: 26/2016
| GMi483 Grievance #857358 i .
SHEGOG, JOSEPH WILLIAM : scree ST is Page of 2

Case 1:21-cv-00357-SPB-RAL Document 8-2 Filed 02/08/22 Page 7 of 8

5-14-2020
Chief Secretary's Office
of Grievance and Appeals
Depactment cf Cerrections
Prison: SCi-Albicn . |
Name: Joseph W. Shegeg Grievance Date:3-23~-20
inmate# GM-1433 Initial Review: Jaresponded
Unit: B-B-62 Appeal to Facility Mgr.:4- 20-\20

Facility Mgr. Response:5712-20

Appeal from Decision cf Facility Manager

1. Facility Mgr. wee in error stating I added additicnal points
not in grievance. My grievance had 3 points. 1-I never received a
initial response. The original grievance Li. Rarner is w itten at

r
bottom. 2-C.0 Gronal confronted me about a geievance. 3-That the
C.0 used abusive language. All 3 issues aré in my original
grievance.

2, Facility Manager stated
occurred at work place. Po
reported. On above date no misconuct was issued. Bacausa T did
nothing wrong I was confront about a grievance that I wrote
#848548.
-Facts in Support for Review~

C.0, Geonal confronted me about a price grievance and used

i

abusive language. I never received Initial Response Review. Only
a

to hide the Retaliation- An act of vengeance or threeat of action
against an inmate or staff in response to an inmate complaint of
a problem. Examples include, but are not limited to umnecess sary
discinlinge,intimidation, unnecessary changes in work ox program
assignments, unjustified tvansfets, ox placement, unjustified

denials of privileges and services.

1. Freedom From Further reta:
2.
3. T ¥

4. $50,000 doiloars for reta dation, ver
the CODE OF ETHICS, and violation of DC-ADH 001, 804, and 816.

5. request a full and unbias investigation ef this compiaint.

4
L
That C/O Geonel be suspended without pay.
a

hat wy liveliheed net be taken away for filing a grievance.
OL

bal abuse, violation cf

I
Case 1:21-cv-00357-SPB-RAL Document 8-2 Filed 02/08/22 Page 8 of 8

Final Appeal Decision F

. Secretary's Office of Inmate Grievances & Appeals
- Pennsylvania Department of Corrections
4920 Technology Parkway
Mechanicsburg, PA 17059

07/22/2020 03:56

amentepe oa ap aes nereene Par ore UT SON,

Inmate Name:
SCI Filed: ~~
Grievance #:

. SHEGOG, JOSEPH WILLIAM DOC #:
‘eet Albion. coe, Current
857358

meh tet perme een ny meneame ne pa ee peer ee ee eters oe ear ore ee tram eg ene ae ee pe Re nite

Sci... -Albion

This serves to acknowledge receipt of your appeal to the Secretary's Office of Inmate Grievances and Appeals for

the grievance noted above. In accordance with the provisions of DC
is being provided based on a review of the entire record of this grievance. The review included

’ following response

your initlal grievance, the Grievance Officer's response, your appeal
response, the issues you raised to final review, and (when applicable) any revised Institutional responses required as
- aresult of a subsequent remand action by this office. As necessary, input from appropriate Central Office Bureaus
{a.g., Health Care Services, Chief Counsel, Office of Special Investigations and Intelligence, etc) may have been

a determination In response to your issue as well.

‘ solicited in making

Decision:Uphold
vin.. tis thé de

Response

iston of the Secretary's Office of Inmate ‘Grievances and Appeals to uphold the iniffal response, “2 .

-ADM 804, Inmate Grievance System Poiicy, the

to the Facility Manager, the Facility Manager's

“uphold the inmate, or Upheld in part/Deny in part. This resporise will include a brief rationale, summarizing the

‘coriclusion,

Response:

any action taken to resolve the issue(s) raised in

the grievance and your appeal and relief Sought.

You claim that on 3/23/2020, the Cl Shop Supervisor, Mr. Martin, called all inmates without face masks and stated
that all inmates had to wear a mask. You say that you questioned him whether it was mandatory because you had

Gronal violated the Code of Ethics. You request no more retaliation,
6 retallation is documented, and that you not lose your job because of the color of your skin.

your claims and found that they were fabricated.

In your Appeal to the Facility Manager, you allege that CO Gronal had confronted you about.a prior grievance;
itial grievance you claim that his alleged actions were due to you questioning Mr. Martin's
directions. Information and relief not mentioned in your initial grievance will not be addressed at final review. There

Signature:
Title:
Date: -. om

‘ 1 , ,
loi Moma Aor
De vamer a
Chief Grievance Officer
97/22/20 -

cc: DC-4 5/Superintendent - Albion
Grievance Office

‘

ek el ee

DC-ADM 804, Inmat
Section 2 - Appeals

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e Grievance System Procedures Manual
, Attachment 2-F -

GM1483 Grievance #: 857358

SHEGOG, JOSEPH WILLIAM

Issued: 1/26/2016 Effective: 2/16/2016

Page’ of 1
